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"in care of'
Oasis Properties
I 0618 Drexel
Cleveland,Ohio 44108
I 0/10/2022


                     IN THE UNITED STATES DISTRICT COURT O~ OHIO
                                                          f-.l~rtl\er ~

          Oasis Properties      ) Case# CV-19-916327
              Plaintiff
                  Vs.            ) Demand For Trial By Jury
           Hannah Singerman ,
                                                                     1
          Cuyahoga County        ) Reserve The Right To Amend
          Recorder Michael                                    JUDGE CALABRESE
           Chambers,
           Judge Michael J. Russo,
           State of Ohio         )
                                                                   1 : 22 CV      1830
         3.5- MILLION DOLLAR CIVIL COMPLAINT FOR CONSPIRACY TO
         COMMITT REAL ESTATE DEED FRAUD VIOLATION OF 18 use
         SEC.241,AND 18 U.S.C CODE SEC. 242 DEPRIVATION OF RIGHTS
         UNDER COLOR OF LAW CONSPIRACY AGAINST RIGHTS, AND
         VIOLATIONS OF THE IRS CODE
                         (The Principle part of everything is in the beginning}

               Comes Now, Oasis Properties, to files civil lawsuit for violation of
               Constitutional Rights pursuant to 18 U.S. C Sec 241, and Sec. 2414
                Conspiracy against Rights, Conspiracy to commit real estate deed
                fraud, deprivation of rights under color of law, and violation of the
                IRS Code.

                                    1. Jurisdiction
                The Federal Court Has Jurisdiction For the following Reasons:

                 The Judiciary Act, though, Congress placed admiralty under the jurisdiction
                 of the federal district courts.
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This court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. 1331, which
provides district courts with jurisdiction over civil actions arising under the United States
Constitution or laws of the United States.

This court has personal jurisdiction over the defendant's corporations be_cause the corporation's
principal place of business is in this state.

Venue is proper pursuant to 28 U.S.C. 139l(b) because the events giving rise to the allegations
in this complaint occurred in this district.

The state is guilty of real estate deed fraud which is verified by the day-to-day process of
registering homeowners' property deeds in their office.

The state is in control of the plaintiff's property deed when there is no law that forced·the
plaintiff to register her property.

The state is paying the judge and providing a pension, 401-k, so other state court judges will
have a conflict to hear this case in state court.

The State is the real party responsible for the illegal taxation on the plaintiff's property using
state-licensed sub-agencies to do the dirty work.

The amount of damage is over what the state court has jurisdiction to rule on.

There is no other court available for remedy.

                                            2. Factual Allegations:

1. The state employees registered the plaintiff's property in their office without disclosing there
is no law that mandates the plaintiff must register her property in their office.

2. The plaintiff was notprovided full disclosure about registering her property.

3. The plaintiff was not informed that registering her property would allow the defendants to file
the first illegal mortgage lien against her property and extort property taxes.

4. The state law requires the property deed to be delivered to the new owner however the
defendants violated the state law when they did their "constructive delivery" and rdgistered the
plaintiff's property in their office.                                                                 •



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5. The illegal registration of the plaintiff property allowed the plaintiff's private property to be
reclassified for the sole purpose of taxation.

6. The fact the alleged lender accepted the plaintiff's signature on the illegal mortgage lien
proves the plaintiff already owned the property and is being scammed.

7. The property taxation system does not fall within constitutional guidelines set forth for all
People of our community.

8. The current property tax collection system taxes is in violation of the constitution as the taxes
are not "apportioned among the several states: [See Article I, Section 2, Clause 3 and Article 1,
Section 9, Clause 4.]

9. These include taxes directly upon people or personal property." ...all duties, imposts, and
excises [indirect taxes], shall be uniform throughout the United States". [See Article I, Section
8, Clause I.]

10. The Constitution of the United States of America and Case law shows that capitation taxes
and taxes on personal private property are in the category of direct taxes as being applied to
Plaintiff's property.

11. The recorder of records office has a "good Faith" obligation to explain "full disclosure" and
serve written notice in advance, of the legal incapacities and disabilities which were about to
befall the plaintiff by recordation, See: U.C.C. 1-203, and 1-201 (25, 26,27).

12. The plaintiff's private property was re-classified, without permission, for the sole purpose of
taxation..

13. Any other means of collecting property taxes outside of the constitution makes the tax
collection void in law.

14. Plaintiff has the right to know why l!iilh\i€is being taxed, and to know that it is a legal
taxation which represents their interests.

15. The unlawful collection of property taxes is not only immoral and unethical, but also
criminal and a violation of the plaintiff's civil rights.                             .'
                                                                                                       •



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I 6. This illegal property tax process is a violation of the constitution and the plaintiffs due
process, as there has been no court hearing, no judgment, no adjudication of all facts, and no
consideration given for the actual laws regarding the tax in the first place.

17. All government officials and agencies, including all State legislatures, are bound by the
Constitution and must NOT create any de facto laws which counter the Constitution.

18. There are only two kinds of taxes - direct and indirect. Direct taxes are prohibited by the
Constitution - not once but twice.

19. Direct taxes are taxes on that which you already own, and there may be no direct taxes under
any circumstances short of a state of war, and then only if the taxes are equally apportioned
among the Union states.
20. The other type of tax is the indirect tax. Indirect taxes are taxes on a particular activity or
taxes levied at the point of purchase. If you do not want to pay the tax, don't engage in the taxed
activity, or don't purchase the taxed item.

21. The law (Constitution) says," We the People" grant to government, permission to exist to
regulate commerce with the State government corporation, providing within these restrictive
terms, "nor shall private property be taken for public use (zoning, building permit, license, taxes,
etc.) without just compensation." (Bill of Rights, Amendment Article V) "No person shall... nor
shall any person... nor be deprived of life, liberty, or property, without due process oflaw.

22. Purchase, or condemnation for public use and compensation with just consideration of value
therefore.

23. "This Constitution, and the laws of the United States which shall be made in pursuance
thereof; ... shall be the supreme law of the land; and the judges in every state shall be bound
thereby ... The Senators and Representatives and members of the State legislature, and all
executive and judicial officers of the United States and the several States, shall be bound thereby,
anything in the Constitution or laws of any State to the contrary notwithstanding."

24. The Constitution of the United States of America, Article VI, Cl 2, 3. "The United States is
entirely a creature of the Constitution. Its power and authority have no other soll!oe.
                                                                                                       •



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25. It can only act in accordance with all the limitations imposed by the Constitution." Reid v
Covert 354 US 1, 1957.

26. "The general rule is that an unconstitutional statute, though having the form and name oflaw,
is in reality no law, but is wholly void and ineffective for any purpose, since its
unconstitutionality dates from the time of its enactment... In legal contemplation, it is as
inoperative as if it had never been passed... Since an unconstitutional law is void, the general
principles follow that it imposes no duties, confers no right, creates no office, bestows no power
or authodty on anyone, affords no protection and justifies no acts performed under it... A void
act cannot be legally consistent with a valid one.

27. An unconstitutional law cannot operate to supersede any existing law.

28. Indeed insofar as a statute runs counter to the fundamental law of the land, (the Constitution
JTM) it is superseded thereby.

29. No one is bound to obey an unconstitutional law and no courts are bound to enforce it."
Bonnett v. Vallier, 116 N.W. 885, 136 Wis. 193 (1908); NORTON v. SHELBY COUNTY, 118
U.S. 425 (1886). See also Bonnett v Vallier, 136 Wis 193, 200; 116 NW 885, 887 (1908); State
ex rel Ballard v Goodland, 159 Wis 393,395; 150 NW 488,489 (1915); State ex rel Kleist v
Donald, 1~4 Wis 545, 552-553; 160 NW 1067, 1070 (1917); State ex rel Martin v Zimmerman,
233 Wis 16, 21; 288 NW 454, 457 (1939); State ex rel Commissioners of Public Lands v
Anderson, 56 Wis 2d 666,672; 203 NW2d 84, 87 (1973); andButzlaffer vVan Der Geest &
Sons, Inc, Wis, 115 Wis 2d 539; 340 NW2d 742, 744-745 (1983).

30. "Thus, the particular phraseology of the constitution of the United States confirms and
strengthens the principle, supposed to be essential to all written constitutions, that a law
repugnant to the Constitution is void;" and the courts, as well as other departments, are bound by
that instrument." Marbury v Madison, 5 US 1803 (2 Cranch) 137, 170?180, and NORTON v.
SHELBY COUNTY, 118 U.S. 425.

31. "When an act of the legislature is repugnant or contrary to the constitution, it is, ipso facto,
void." 2 Pet. R. 522; 12 Wheat. 270; 3 Dall. 286; 4 Dall. 18.
                                                                                      .'
                                                                                                       •



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32. "[p]owers not granted (to any government) are prohibited." United States v. Butler, 297 U.S
I, 68 (1936).

34. "Insofar as a statute runs counter to the fundamental law of the land, (constitution) it is
superseded thereby." (16 Am Jur 2d 177, Late Am Jur 2d. 256), " ... all laws which are repugnant
to the Constitution are null and void' (Marbury v Madison, 5 US 1803 (2 Cranch) 137, 174, 170).

35. "Where rights secured by the Constitution are involved, there can be no rule making or
legislation which would abrogate them." - Miranda v. Arizona, 384 U.S. 436, 491.

36. "The claim and exercise of a constitutional right cannot be converted into a crime." Miller v.
U.S., 230 F 2d 486, 489.

37 "There can be no sanction or penalty imposed upon one because of this exercise of
Constitutional rights."- Sherar v. Cullen, 481 F. 945.

38. To disregard Constitutional law, and to violate the same, creates a sure liability upon the one
involved: "State officers may be held personally liable for damages based upon actions taken
in their official capacities." Hafer v. Melo, 502 U.S. 21 (1991).

                                   3. SCHEME TO DEFRAUD:
                                                  CJ,fl_U..t
39. Plaintiff's real property was re-classified, without~ permission, for the sole purpose of
taxation.

40. There is no law that requires Private Owners to Record their private property deeds, in the
county recorder's office.

41. When the defendants placed the plaintiff's "document of title" in their records the attorney
created a secret Constructive Quasi "Trust" on the presumption that their "State corporation" has
"AN interest in plaintiff's land, and they now control plaintiffs property rights such as
"possession" ect, and plaintiff has been forced to pay annual fee (tax) in "return" for benefit.

42. Some of the benefits of the illegal control over the plaintiffs property benefits are, the
privileges of applying to the government corporation for "building permit" to regulate plaintiffs
land use, and control of usage by zoning, land use plans, certificate of Occupancf s,, and
architectural approval committees, the compelled acceptance of government sewer, storm                •


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    damage control, and other government granted/compelled benefits and privilege of paying taxes
    to pay for them.
                    .                                                               . ).i:~
    43. Plaintiff was damaged by this unlawful real estate deed fraud seizure of~roperty
    f.f~u control of his property away stripped away and plaintiff had to request permission to enjoy
    l~roperty.

    44. Plaintiff was also damaged when forced to make unlawful property tax payments for years or
    risk losing the property to the city for nonpayment of unlawful taxes.

    45. The plaintiffs property was re-classified for the sole purpose of reclassification.
    Plaintiffs rights are such as existed by the law of the land long antecedent to the organization of
    the state and can only be taken from him by due process of law, and in accordance with the
    Constitution.

    46. The registration of the property deed allowed the defendants to file the first illegal mortgage
    lien against the property.

    47. Property taxation does not fall within constitutional guidelines set forth for all People of our
    community.

    48. The normal process in which the county recorders operate will verify the illegal operation of
    re-classification of property for the sole purpose of unlawful taxation.

                                                                            ~~l.
    49. There is no law requiring a real property owner to record ~property with the County
    Recorder.

                        4. PRIVATE PROPERTY COMMERICAL RE-CLASSIFICATION

    50. Plaintiffs property tax is based on a commercial classification which has been assigned to
    ClJl:.!S
    ~ s real property.

•   51. Plaintiffs property was wrongfully re- classified as agricultural, industrial, or residential .

    52. Each of these are commercial in nature (the legal definition of"resident" is a class of
    government official; residential
                               .
                                     is a house in which a government official lives).     .   '
    Plaintiffs recorded property is unlawfully being used to collateralize government loans, and has
                                                                                                           •
    a public debt attached to it.


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                                                 .         .                  L"")..ff.~i', Pror~ti"7
       , 53. Plaintiff's real property has been re-classified, withou~ permission, for the sole
         purpose of taxation. This is the firm basis for the lawsuit.
                            .-
                                         5. ELEMENTS FOR COMMON LAW:
                                                                                          '.
         Controversy (The listed defendants)

         Specific Claim (Violation of the Constitution, 18 u.s.c. 241, sec. 2414, R.I.C.O. and the IRS                    ~.
         Code)
                                                     Oc>6iG    \1-o,....':l
         Specific Remedy Sought by Claimant ~Deed removed from the recorder'~- office,.

         5.5 million dollars damages, the debt attached to the property to be discharged.

         Claim is Sworn to By (Affidavit ofVerification attached), and I will verify in open ceurt that all
         herein be true.

                                         6. ELEMENTS FOR CONSPIRACY:

         The elements of conspiracy, which are: (1) a mutual agreement or understanding, (2) knowingly
         enterecl by the defendant, with (3) an intent to jointly commit a crime.

                                   7. ELEMENTS FOR REAL ESTATE DEED FRAUD:

         The elements for real estate deed fraud are: (1) a misrepresentation (such as·,a, false
         representation, concealment or non-disclosure), (2) knowledge of falsity (called 'scienter' in
         legalese);{)'}intent to delraud or induce reliance, (4) justifiable reliance, and (5) resulting
         damage.

                           8. EL1lMENTS FOR DEPRAVATION OF RIGHTS UNDER 24:l
                                 <I.;,

        The elements for depravation of rights are when two or more persons conspire to iajure, oppress,
        threaten, or intimidate any person in any State, Territory, Commonwealth, Possession, or District
         in the free exercise or enjoyment of any right or privilege secured to him by the Constitution or
••
     · · laws of the United States, or because ofhis having so exercised the same.


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                        9. ELEMENTS FOR VIOLATING THE IRS CODE


The elements for violating the IRS code are an affirmative act constituting an
attempt to evade or defeat a tax or the payment thereof, an additional tax due
 and owing, and willfulness.
                                 10. PARTIES


 a. Oasis Properties operates in Cuyahoga County, Ohio
 b. The First Defendant is Hannah Singerman
    c. Second Defendant is Michael Chambers
       d. Third Defendant is Judge Michael J. Russo
       e. Fourth Defendant State of Ohio


COUNT ONE: Violation of 18 USC Sec 241 and 242:
1. Plaintiff incorporates by reference the facts alleged in paragraphs 1-53
2. The defendants negligence was the direct and proximate result of plaintiffs
   lllJurieS.

 COUNT TWO :Violation of Real Estate Deed:
  1. Plaintiff incorporates by reference the facts alleged in paragraphs 1-53
  2. The defendants had a duty to follow the state property transfer law and the
     constitution.

   COUNT THREE: Conspiracy to Commit Real Estate Deed Fraud:
     1. Plaintiffs incorporates by reference the facts alleged in paragraph 1-53.
     2. The state every day procedure is in violation of the state statutes and
        defendants are committing real estate deed fraud during their day to day
        process.
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COUNTFOUR:

Violation of the IRS code:

3. Plaintiff incorporates by reference the facts alleged in paragraphs 1-53.

The state and the defendants have an illegal Rico scheme as the alleged loan was generated by
the plaintiff's signature and the defendants did not pay taxes on the scheme. The defendants did·
not file their asset allegation statement under section 338, and therefore accrue civil liability for
fraudulent securities transactions



COUNT FIVE:

Infliction of emotional stress:

4. Plaintiff incorporates by reference the facts alleged in paragraphs 1-5 3

The entire mortgage scheme was designed to beat down the plaintiff with all the agencies
licensed by the state. The judge has a conflict of interest as he is paid by the corporation stealing
the plaintiff's property.

                                               Slander of Title:

The defendants have caused to be recorded various documents including an unlawful foreclosure
which constitutes slander of title, and the plaintiff should be awarded resulting damages to be
fully proved at the time of trial.

                                              Slander of Credit:

The plaintiff allege that the actions and inactions of the defendants have impaired their credit
causing them to lose the ability to have good credit entitling them to damages, including
statutory punitive damages pursuant to state and federal law, all to be proved at the time of trial.

                                     Infliction of Emotional Distress:

The defendants have intentionally and negligently taken illegal actions which have ,caused the
plaintiff's severe emotional distress.
                                                                                                        •


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     The attack on the Plaintiffs home using a statute that is not valid is fraud on the court.

     The fact part of the original agreement is missing from the contract filed in the State
     foreclosure case is a clear showing of illegal intent to cause distress.


                                   REQUEST FOR DAMAGES

     Plaintiff request compensatory and general damages for expenses, for legal
     expenses, medical bills, mental anguish associated with living with the consequences
     of the defendant's negligence, loss of income damaged credit score, embarrassment
      from having Plaintiffs house listed on Zillow and other Real Estate foreclosure websites
       before while case is in litigation. The plaintiff request punitive damages in what
       the jury finds just and fair. Plaintiff prays that this court enter judgment for the
       Plaintiff and against each of the Defendants, and grant:


      a. compensatory and consequential damages, including damages for emotional distress,
      humiliation,and other pain and suffering on all claims allowed by law in an amount in
       3-Million Dollars
       b. any further relief that this court deems just and proper, and any other appropriate
        relief at law.

       WHEREFORE, Plaintiff Oasis Properties request the following

        a. That the court enter a jndgment in favor of Oasis Properties and against the
         defendants on all counts of the Complaint
         b. That the court award compensatory damages into Plaintiff and against the
          defendants jointly and severally, in an amount to be determined at trial.
c.         c. That the court award punitive damages to Plaintiff ,and against the
              defendants jointly and severally, in an amount to determined at trial
            in order that such award will deter similar proscribed conduct by the
            defendants in the future.
            d. That the court award Plaintiff, and against defendants prejudgment
              and post judgment interest on all sums awarded in this action, and
              including reasonable legal fees, pursuant to 42 U.S.C. Sec. 1988: and
              e. That the court grant Plaintiff such other equitable relief that the court
               deems appropriate.




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DEMAND FORA TRIAL BY JURY

Comes Now, the Plaintiff, and hereby demands Jury Trial on all issues so triable to a jury.

                                                           J.auefk~tf               10/10/2022

                                                                  Frances Caldwell member
                                                                  of Oasis Properties

                                                             Without Prejudice UCC 1-308
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           OASIS PROPERTIES & INVESTMENT, LLC

                          OPERATING AGREEMENT

This Operating Agreement of OASIS PROPERTIES & INVESTMENT, LLC, a
limited liability company organized pursuant to Ohio Revised Code Chapter 1705,
entered into at Cleveland, Ohio, as of January 5, 2009 by and between Robert Caldwell
("Manager/Member"), Frances Caldwell("Manager/Member"), Ramon
Caldwell("Manager/Member"), Jamel Caldwell("Manager/Member"), Rashad
Caldwell("Manager/Member") & Amir Caldwell("Manager/Member") is as follows:


I. DEFINITIONS. The following definitions, when used with an initial capital letter or
letters, shall apply throughout this Agreement:


1.1 "Act" means Ohio Revised Code Chapter 1705, as amended from time to time.


1.2 "Capital Account" means an account to be maintained for each Member which
complies with the requirements of Section I. 704-1 (b)(2)(iv) of the regulations under the
Code, and which, as of any date, shall be an amount equal to the sum of the following:


1.2.1 The aggregate amount of cash and the agreed value of any property other than cash
contributed to the capital of the Company by such Member, plus the aggregate amount of
Net Profit allocated to such Member; minus


1.2.2 The aggregate amount of Net Loss allocated to such Member and the aggregate
amount of cash and the agreed value of all other property distributed to such Member by
the Company.


1.3 "Code" means the Internal Revenue Code of 1986, as amended, the applicable
Treasury Regulations there under, and any comparable laws and regulations, enacted or
promulgated in place thereof.


1.4 "Distributable Cash," as of any date, means all cash from all sources held by the
Company as of such date less any amounts reasonably deemed necessary by the
management Committee to be reserved for normal working capital requirements,
contingent liabilities, and such other purposes as the Management Committee determines
to be necessary or advisable for the conduct of the Company's business.
                                                                              .   '
1.5 "Net Profit" or "Net Loss" means, for each fiscal year of the Company, the               •
Company's taxable income or loss for such fiscal year, as determined under Section
703(a) of the Code, with the following adjustments:




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                                   CERTIFICATE OF SERVICE



   Plaintiff does hereby affirm that the enclosed Complaint was forwarded by certified mail and hand
delivered to Hannah Singerman, Michael Chambers, Judge Michael J. Russo and certified mailed Ohio
Attorney General Office.              \CI l l / !->),> ,7'




                                          Submitted by,

                                          ~~fl{
                                         Frances Caldwell Member of Oasis Properties
                                         & Investment LLC
                                          10618 Drexel Ave.
                                          Cleveland, Ohio 44108
                                          216-374-2899




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